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                                        UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEW JERSEY

            COMSAT, INC., a Delaware Corporation,               CASE NO. 17-12132 (SDW)(LDW)

                           Plaintiff and Counterclaim
                           Defendant,
                   v.                                           DECLARATION OF DAVID B.
                                                                GORDON IN SUPPORT OF MOTION
            PENTAGON PERFORMANCE, INC., a New                   TO WITHDRAW AS COUNSEL
            Jersey Corporation,

                           Defendant and Counterclaim
                           Plaintiff.


                   I, DAVID B. GORDON, declare as follows:

                   1.      I am an attorney at law duly licensed to practice law in the State of New Jersey

            and before this Court. I am, through my professional corporation, a partner in the law firm of

            Mitchell Silberberg & Knupp LLP (“MSK”), attorneys for Defendant Pentagon Performance,

            Inc. (“PPI”). I have personal knowledge of the facts set forth herein, and if called and sworn as

            a witness, could and would competently testify thereto. This declaration is being filed in support

            of MSK’s motion to withdraw as counsel.

                   2.      MSK was retained to represent PPI in this case. On behalf of PPI, MSK filed an

            Answer and Counterclaim in response to the Complaint of Plaintiff Comsat, Inc. (“Comsat”),

            exchanged written discovery with Comsat, and collected, reviewed, and produced documents in

            response to Comsat’s requests.

                   3.      Unfortunately, the relationship between PPI and MSK has broken down.

                   4.      First, PPI has not responded to multiple emails and telephone messages. Our sole

            contact at PPI is Anthony La Sure. Recently, I emailed Mr. La Sure to request information from

            him regarding deposition scheduling, because Comsat’s counsel had requested that Mr. La Sure
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            indicate his dates of availability. I received no response from Mr. La Sure. Since August 20,

            2018,1 have sent six additional emails to Mr. La Sure relating to this matter without receiving

            any response to any of the emails. In several of these emails, I advised Mr. La Sure that MSK

            could not continue to represent PPI if I did not hear back from him. My emails to Mr. La Sure

            have been sent to the address through which he communicated with me in the past. I also

            attempted telephone calls to Mr. La Sure on several occasions, using the telephone number he

            gave me to contact him and leaving voice mails, and received no response.

                   5.      Second, PPI has failed to pay attorney’s fees incurred by MSK, in accordance

            with the Client Engagement Agreement between MSK and PPI, for MSK’s work on this case.

            PPI last made payment to MSK in April 2018. If MSK were forced to continue representing PPI,

            it would result in an unreasonable financial burden on MSK.

                   6.      MSK has moved with all due haste in bringing this Motion in the time since it

            became clear that PPI would not respond to attempts to communicate and would not be willing to

            pay MSK’s legal fees.

                   7.      Accordingly, MSK respectfully requests that the Court grant it leave to withdraw

            as counsel for PPL

                   8.      If the Court wishes to review the written communications between MSK and PPI

            relating to the issues described above, we respectfully request that we be permitted to submit

            such documents for an in camera review, to ensure that confidentiality is preserved.

                   I declare under penalty of perjury that the foregoing is true and correct. Executed on
                   October 9, 2018


                                                                By:   /s/ David B. Gordon


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